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                           Case 1:19-cr-10104-ADB Document 259 Filed 08/31/20 Page 1 of 3
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                                                                                  Plymouth County Correction.al Facility
                                                                                  26 Long Pond ·Road
                                                                                  Plymouth, MA 02360 ,--,'">.
                                                                                   01lq. z~           r   2t) ,<_I
       United States District Court for
       the District of Massachusetts
       U.S. Courthouse
       One Courthouse Way
       Boston, MA 02210

       RE:           United States of America v.                   Sfefl ~v1. f__o.) ;5- f>f12_w vf
       NO:           \~4-~~ e, r-- \ o lo~ -AD f)
                 I
       Dear 'S ir/Mad.am:

             Enclosed for action, filing and docketing regardm.g the above-referenced matter, please
       find MOTION TO DISMISS APPOINTED ATTORNEY AND TO APPOThIT NEW ATTORNEY.

                     Kindly mark this motion up for hearing at your earliest convenience.




                                                                                  Very truly yours,




       Enclosure
       =             u.s. Attorney                    pv '"'- L 'J "'- r r -1-[
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                                            UNITED STATES DISTRICT COURT
                                              for the District of Massachusetts


        UNITED STATES OF AMERICA                                      )
                                                                      )
        v.                                                            )    DOCKET No. \',          l:1 - c.,f-- \o \o 1/-A DB
                                                                      )·
                                                                      )


         MOTION TO DISMISS APPOINTED ATTORNEY AND TO APPOINT NEW ATTORNEY


                NOW COMES the Pefendant, S-f.f! Ph.ti ~ ~0 'V: f -                 5-/et:Jet/'i
                                                                          in the above matter, and
        moves th.is Honorable Court to dismiss           my
                                                 appointed attorney and to appoint a new attorney
        to represent my interests.

                The reasons that I make this request are:

                ✓ Disagreem.ent on ~trategy;
                ( )       Failure to obtain a bail appeal;

                (\.1"'    Laclc of understanding between me and my attorney;

                ·(✓Failure         to present my best interests;

                C         Other:

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                 '4.   .J 1           Jc,   iaJ     0 !'!.~)        Awl /,    f.      W e. :'J  f\ pa.,u}. f o(
                 bvt        \.A.      +o        CC} ,   ve      H5l oo o             J 0t II o,- 5 b 'l c;( to
                 M-1       iuvfl.ef         (\,c,IJ due__           +o ±4Al=             :r.      f ee/   j k-e ((-
                 t   S   A cc ,,,J l l c f c f           I v1 I t   r{Yf
        Date:



                                                                               26 Long Pond Road
                                                               -- --__ --- _ _ Ply:cn.gu,i:h, MA 02360    0
              Case 1:19-cr-10104-ADB Document 259 Filed 08/31/20 Page 3 of 3




Plymouth County Correctional Facility
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26 Long Pond Road
Plymouth, MA 02360                                                                                                  ~
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                                                                                            •                      MAILED FROM ZIP CODE 02360




                                                Clerk - Criminal Matters
                                                UNITED STATES DISTRICT COURT
                                                One Courthouse Way - Suite 2300
                                                Boston, MA       02210




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